                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

 UNITED STATES OF AMERICA,

                              Plaintiff,

        v.                                        Case No. 18-00153-01-CR-W-RK

 JOEL JEROME TUCKER,

                              Defendant.

                                 ENTRY OF APPEARANCE

       Comes now the United States of America, by and through its undersigned attorney,

James Curt Bohling, Assistant United States Attorney, and enters his appearance as co-counsel for

the United States of America in the above-referenced case.

                                                    Respectfully submitted,

                                                    Timothy A. Garrison
                                                    United States Attorney

                                            By:     /s/ Curt Bohling
                                                    James Curt Bohling
                                                    Chief, Monetary Penalties Unit
                                                    Assistant United States Attorney

                                                    Charles Evans Whittaker Courthouse
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                                                    Kansas City, Missouri 64106
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was delivered on July 2,
2018, to the CM-ECF system of the United States District Court for the Western District of
Missouri for electronic delivery to all counsel of record:

                                                    /s/ Curt Bohling

                                                    James Curt Bohling
                                                    Assistant United States Attorney



             Case 4:18-cr-00153-RK Document 5 Filed 07/02/18 Page 1 of 1
